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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
-----------------------------------------------------X
UNITED STATES OF AMERICA
                                                                 Hon. Katharine S. Hayden
        -v-
                                                                 11 Cr. 164 (KSH)
ERIC HAYNBERG,
                                                                 ORDER
                                    Defendant.
-----------------------------------------------------X

        Upon the application of Eric Franz, attorney for the above named defendant, upon notice

to Pretrial Services, it is hereby

        ORDERED that defendant Eric Haynberg is permitted to travel to Antigua and Tortola

from March 23, 2012 to April 2, 2012. For said purpose, Pretrial Services shall provide Mr.

Haynberg his passport; and it is further

        ORDERED that within five (5) days counsel shall provide the U.S. Pretrial Office with

defendant’s itinerary; and it is further

        ORDERED, that upon return the defendant shall promptly turn over his passport to

Pretrial Services. All other conditions remain in effect.



Dated: 3/6/12
                                                          _/s/Katharine S. Hayden_
                                                          KATHARINE S. HAYDEN
                                                          United States District Judge
